Case 6:21-cv-06279-DGL Document1 Filed 02/04/4445. paar OF IY.

UNITED STATES DISTRICT COURT FEB ~4 701
NORTHERN DISTRICT OF NEW YORK . ,
— — — AT O'CLOCK.
Movauts Lend Por ker + WROHA John M. Domurad, Clerk - Syracuse
COMPLAINT

(Pro Se Prisoner)

’.Plaintiff(s .
s Case No. 4:21. -ex-130 (LKB)
(Assigned by Clerk's
Levtenca Donnetly Vreow ing, Office upon filing) -
DPReer Kubuen Correekinal - Feary, } Jury Demand
Cre We bo . oO Yes
. Defendant(s). No

NOTICE
The public can access electronic court files. For privacy and security reasons,
papers filed with the court should therefore not contain: an individual's social
security number, taxpayer identification number, or birth date; the name of a
person known to be a minor; or a financial account number. A filing may
include only: the last four digits of a social security number or taxpayer-
identification number; the year of an individual's birth; a minor's initials; and the
last four digits of a financial account number. See Fed. R. Civ. P. 5.2.

LEGAL BASIS FOR COMPLAINT

This is a civil action: ‘seeking relief and/or damages to defend and protect the
fights guaranteed by the Constitution and laws of the United States. Indicate
below the federal basis for your claims.

42 U.S.C. § 1983 (state, county, or municipal defendants) —

O Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (1971)
(federal defendants)

O Other (please specify)

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Name: ~ Marawis \_- Backex, _
\\ \-04 4 TOP state

Prisoner ID #:
Place of detention: | BM AC OW Cacrec onc) Tock cry
Address:

Cormateck, New York - Bad
Alene 14.95 3
Indicate your confinement status when the alleged wrongdoing occurred:

a Pretrial detainee
a Civilly committed detainee

Corivicted and sentenced state prisoner -
O Convicted and sentenced federal prisoner
Oo Immigration detainee

- Provide any other names by which you are or have been-known and any-other
identification numbers associated with prior periods of incarceration:

If there-are additional plaintiffs, each person must provide all of the information
- requested in this section and must sign the complaint; additional sheets of paper

may be used and attached to this complaint.

lil. DEFENDANT(S) INFORMATION

Defendant No. 1: D OWT & Wy (Mele)

Name (Last, First)

Lieut enost (Hearing Oeticer)

- Job Title

(hulburn Corr. fe.) (35 Stote St Bax lg
Work Address
Avbum Noo Y kK 130A

City State Zip Code

A\len , E (ferrote)
Name (Last, ish

Corcrecionnl Ocicer

Job Title

Defendant No. 2:

ay
Case 6:21-cv-06279-DGL

Defendant No. 3:

Defendant No. 4:

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face) 1357 Stobe 54. Box cl

Work Address

holbocn New Vark _ 13031

City " State _ Zip Code

Salawobs , B. (Mele)

“Name (Last, First)

Cc occectional Of Geer

Job Title

(ACE) 139. Stobe St Bor lB

Work Address

Auburn ea York [0a

City State . Zip Code

Venettozz\ ,_ vd (nNVS DO. Ce 3.)

‘Name (Last, First)
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Job Title

(Corstiol (efice) 1290 Weshirgtin Ave. id, a

_Work Address

Abo New York 12.27-lo

City State Zip Code

If there are additional defendants, the information requested in this section must
_ be provided for each person; additional sheets of paper may be used and

attached to this complaint.

STATEMENT OF FACTS

‘State briefly and concisely the facts supporting your claims. Describe the
events in the order they happened. Your statement of facts should include the

following:

e The date(s) on which the events occurred
¢ Where these events took place (identify the facility and, if relevant, the

specific location in the facility)
Case 6:21-cv-06279-DGL Document 1 Filed 02/04/21 Page 4 of 24

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PO Box Do |

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adb ‘Bab Masig Dewe

SPO +x B26

“Pee Cary, New York HSH

Case 6:21-cv-06279-DGL Documenti Filed 02/04/21 Page5of 24

e How each defendant was involved in the conduct you are complaining
about

If you were physically injured by the alleged misconduct, describe the nature of
your injuries and the medica! evaluation and treatment you were provided. You

need not cite to case law or statutes or provide legal argument in the Statement
of Facts. Use additional sheets of paper if necessary.

Dee Bttoclh ec\ Teper

V. STATEMENT OF CLAIM(S)

State briefly and concisely the constitutional and/or statutory basis for each claim
you seek to assert and identify the defendant(s) against whom each claim is

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Case 6:21-cv-06279-DGL Document1 Filed 02/04/21 Page 6 of 24

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Case 6:21-cv-06279-DGL Document1 Filed 02/04/21 Page 8 of 24 ©

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‘Case 6:21-cv-06279-DGL Document1 Filed 02/04/21 Page 13 of 24

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“THIRD CLAIM

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FIETH CLAIM.

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nd athers who voiced their coneem resording this

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Case 6:21-cv-06279-DGL Document1 Filed 02/04/21 Page 22 of 24

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ncicdest | PloundiFe Seco@eie extremely Physically tlh

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. asserted. Commonly asserted claims include: excessive force; failure to. protect:
deliberate indifference to medical needs; unconstitutional conditions of
confinement; denial of due process in a disciplinary or other proceeding; denial of .
equal protection; retaliation for the exercise of a First Amendment right; and
interference with free exercise of religion. Legal argument and case citations are
not required. Use additional sheets of paper if necessary. ,

FIRST CLAIM

See Atecad “are

SECOND CLAIM .

THIRD CLAIM

Vi. RELIEF REQUESTED
State briefly what relief you are seeking in this case.
Each namecd deferclasit PONY Plaine * 50,000.00 in _Compensacory

deenages (Q0,Q00.D0_ ta punitive dawinges ond & 100, 000. 00 for Merig|

and “emotional cistress
| declare under penalty of perjury that the foregoing is true and correct.

Dated: jafafax Worerec, QL Lhe

| Plaintiffs signature
(All plaintiffs must sign the complaint)

~ (revised 10/2/16)

mT
